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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                          ALEXANDRIA DIVISION

 ABRAHAM HAILEAB                        CIVIL ACTION NO. 1:20-CV-00794-P
 GEBRESLASE,
 Petitioner

 VERSUS                                 JUDGE DRELL

 LASALLE CORRECTIONAL                   MAGISTRATE JUDGE PEREZ-MONTES
 CENTER, ET AL.,
 Respondent


                            MEMORANDUM ORDER

      Before the Court is a Petition for Writ of Habeas Corpus under 28 U.S.C. §

2241 (ECF No. 1) filed by pro se Petitioner Abraham Haileab Gebreslase

(“Gebreslase”) (AXXXXXXXX).    Gebreslase is a detainee in the custody of the

Department of Homeland Security (“DHS”) and Bureau of Immigration and Customs

Enforcement (“ICE”), presently detained at LaSalle Correctional Center in Jena,

Louisiana.

      Because Gebreslase alleges that he is being subjected to indefinite detention

in violation of his constitutional rights, his Petition (ECF No. 1) should be SERVED

on the Government.

I.    Background

      Gebreslase is a native of Eritrea. ECF. No. 1 at 7. Gebreslase alleges that he

has been in ICE custody since July 3, 2018 and in post-removal-order detention since

July 26, 2019. ECF No. 1 at 7. Gebreslase alleges that he has provided ICE with all
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of the requested forms for the issuance of travel documents. ECF No. 1 at 7. Despite

numerous attempts, ICE has been unable to deport him. ECF No. 1 at 7.

II.   Service of Process

      To determine whether Gebreslase is entitled to any relief:

      THE CLERK IS DIRECTED to serve a summons, a copy of the Petition (ECF

No. 1), and a copy of this Order, by certified mail, on the United States through the

United States Attorney for the Western District of Louisiana, the United States

Attorney General, DHS/ICE through its Director, and the Warden of the LaSalle

Correctional Center.

      IT IS ORDERED that Respondents file an answer to the Petition (ECF No. 1)

within 60 days following the date of service. In the answer, Respondents shall provide

the Court with summary judgment evidence indicating whether Petitioner’s order of

removal is final, whether there is a significant likelihood of removal in the reasonably

foreseeable future, and whether Petitioner’s detention is otherwise lawful. This

evidence shall include information regarding the length of time that he has been in

custody, the date on which his removal order became final, any administrative

decisions relating to Petitioner’s request for bond, and all documents relevant to the

efforts made by the immigration officials to obtain travel documents for Petitioner.

      Respondents shall also file a memorandum of law briefing the issues raised in

the answer and citing applicable statutory and case law.




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      IT IS FURTHER ORDERED that Petitioner shall have 30 days following the

filing of Respondents’ answer to produce contradictory summary judgment evidence

on the issue of the lawfulness of his detention.

      All documentary exhibits MUST HAVE PROPERLY NUMBERED PAGES.

An index describing each item attached to the response and showing each item’s page

number shall also be attached.

      FINALLY, IT IS ORDERED that, as a condition to their acceptance by the

Clerk, all future filings by Petitioner and Respondents shall include a certificate

stating that a copy thereof has been mailed to all other parties.

      After the record is complete and all delays have run, the Court will determine

if genuine issues of material fact exist, which preclude summary judgment and

necessitate an evidentiary hearing. If no hearing is necessary, a Report and

Recommendation will be issued without further notice.

      THUS DONE AND SIGNED in Alexandria, Louisiana, on this 26th day of

June 2020.

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                                        JOSEPH H.L. PEREZ-MONTES
                                        UNITED STATES MAGISTRATE JUDGE




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